           Case 4:18-cv-00981 Document 1-4 Filed on 03/29/18 in TXSD Page 1 of 1
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                                        The Office of Vince Ryan
                                           County Attorney

                                          January 4,     018

    Honorable Ken P                                          via Certified MaiU Return Receipt Requested
    Atto,rney        of Texas
    Supreme        Building
    P. O.     12s48
    A       Texas 78711-2548

    Attention:     Open Records Committee

    Re     Public Information Request by Logan Churchwell with the Public Interest Legal
           Foundation to the Harris County Voter Registrar for certain information dating back to
           January of2006 related to individuals who were identified by official sources as potentially
           not satisfiring tl-re citizenship requirementsrelated to registered voters, etc. C. A. File No.
           t7PIA0762

    Dear Attornev General Paxton:

            On December 18, 2017, the Harris County Voter Registrar received written clarification
   in response to a December 15,2017 request for clarification related to a December 1, 2017 request
   for the above-referenced information pursuant to the Texas Public Information Act, Tex. Gov,t
   Code $$ 552.001-552.353 (the "Act"). The requested information appears to be excepted from
   disclosure under Sections 552.101-552.154, as well as any other applicable statute or case
   identified by the Act, including section 62.113 of the Texas Govemmenr Code.

          A memorandum brief and the documents for which we are seeking an exception will be
   submitted within the appropriate time fiame permitted by the Act. We note that December 25,
   2017, December 26,2017, and January 1, 2018 were Harris County holidays and should not be
   counted as part of the ten working days within which to respond.

                                                  Yours very truly,

                                                  VINCE RYAN
                                                  County Attomey

                                                  By
                                                  J.R
                                                  As          t County Attomey

   cc: Mr. Logan Churchwell
       32 E. Washington Street, Suite 1675
       Indianapolis, lndi ana 4620 4
       lch                     terestle
1019 Congress, I       Floor  . Ilouston, Texas    77   002 . Phone: 713-755-5101      . F ax: 7 l3-7 55-8924
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